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                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                       AT BOWLING GREEN
                                CIVIL ACTION NO. 1:20-cv-00198-GNS
                                            Electronically Filed

 ANITA RUBIO, Administrator of the
 ESTATE of AKEEM WILLIAMS, et al.
                                                                                              PLAINTIFFS
 v.

 DZ MOVING AND STORAGE, LLC, et al.
                                                                                             DEFENDANTS


                MOTION TO APPROVE MINOR SETTLEMENT ON BEHALF OF
                            THE DECEDENT’S CHILD, G.W.

                                               *** *** *** ***

         Comes the administratrix of the Estate of Akeem Williams and next friend of G.W., a minor and hereby

 moves this Court to enter the attached order. As grounds for this motion, Anita Rubio, administratrix of the

 Estate of Akeem Williams and next friend of G.W., states as follows:

         1. This case was filed as a result of the wrongful death of the decedent, Akeem Williams;

         2. At the time of his death, Akeem Williams, had one (1) minor child, G.W.;

         3. Anita Rubio, administratrix of the Estate of Akeem Williams is G.W.’s maternal grandmother;

         4. The Plaintiff has resolved both of the claims against both Defendants in this case;

         5. Plaintiff initially resolved their case against Defendant DZ Moving & Storage;

         6. An Estate was created for G.W. in Marion County, Indiana, where he is resident;

         7. Those funds were placed in a blocked bank account on behalf of G.W., the minor;

         8.      Plaintiff has recently through mediation with Magistrate Judge Brent Brennenstuhl, resolved

 their claim against John Christner Trucking and their driver Terron Scott.

         9.      The case against John Christner Trucking and Terron Scott was resolved for a sum of

 $180,000.00, apportioned $150,000.00 for the wrongful death and $30,000.00 for the loss of consortium

 claim on behalf of the minor child, G.W.
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         10.     The minor’s maternal grandmother, Anita Rubio, administratrix and the undersigned, both

 feel the that this settlement is in the minor’s best interest to accept. Liability against this Defendant was

 very highly disputed and of course, there was a chance if the case proceeded to trial that the Estate

 including the minor would receive zero is a defense verdict was returned.

         11.     The administratrix, Anita Rubio and the undersigned both feel that the apportionment to

 the minor is fair. $30,000.00 was earmarked for the minor’s loss of consortium claim and of course, the

 minor will also be a taker under the wrongful death action as well. Said minor will receive one-half of the

 recovery after attorney’s fees and costs pursuant to the Kentucky Wrongful Death Statute.

         12.     Keeping in mind the difficult liability in this case, the administratrix, Anita Rubio, moves

 this Court to enter the attached order approving said settlement. Any amounts received by the minor will

 be added to the minor’s blocked account in Marion County, Indiana.

         Accordingly, the administratrix of the Estate of Akeem Williams and next friend of G.W. move

 this Court to enter the attached Order Approving Settlement.



                                                           Respectfully submitted,


                                                           _/s/ Timothy McCarthy__________
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                                     CERTIFICATE OF SERVICE

         This will certify that a true and correct copy of the foregoing has been electronically filed with
 the Ky. e-Filing system on this 17th day of February, 2022, and that same has been sent by electronic
 mail per CR 5.02 to the following counsel of record:




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                                                   /s/ Timothy McCarthy__________
                                                   Timothy McCarthy
